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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Obj. Deadline: June 20, 2024 at 4:00 p.m. ET


    SEVENTEENTH MONTHLY FEE STATEMENT OF LANDIS RATH & COBB LLP AS
    BANKRUPTCY CO-COUNSEL TO THE DEBTORS AND DEBTORS-IN-POSSESSION
       FOR COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
          REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
          FROM APRIL 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024

Name of Applicant                                             Landis Rath & Cobb LLP
Authorized to Provide Professional Services to:               the Debtors and Debtors-in-Possession
Date of Retention:                                            January 9, 2023 nunc pro tunc to
                                                              November 11, 2022
Period for which compensation and                             April 1, 2024 through April 30, 2024
reimbursement is sought:
Amount of Compensation sought as actual,                      $482,536.50
reasonable and necessary:
80% of Compensation sought as actual,                         $386,029.20
reasonable and necessary:
Amount of Expense Reimbursement sought as                     $1,955.67
actual, reasonable, and necessary:


This is a(n) X monthly ____ interim ____ final application. No prior application has been filed
with respect to this Fee Period.




1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
     of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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                                     PRIOR FEE STATEMENTS FILED

   Date Filed            Period Covered       Requested          Requested        Approved 2      Approved
                                                 Fees            Expenses           Fees          Expenses
      2/7/2023                11/11 –        $1,155,186.50        $16,008.71       $924,149.20     $16,008.71
                            12/31/2022
     3/6/2023             1/1 – 1/31/2023      $663,695.50         $20,696.39       $530,956.40    $20,696.39
     3/17/2023           11/1 – 1/31/2023    $1,818,882.00         $36,705.10     $1,801,382.00    $36,705.10
  (First Interim)
     4/4/2023             2/1 – 2/28/2023      $582,604.00         $10,522.10       $466,083.20    $10,522.10
     4/28/2023            3/1 – 3/31/2023      $639,694.00          $4,638.18       $511,755.20     $4,638.18
     6/1/2023             4/1 – 4/30/2023      $432,505.00          $2,343.66       $346,004.00     $2,343.66
     6/15/2023            2/1 – 4/30/2023    $1,654,803.00         $17,503.94     $1,597,853.00    $17,503.94
(Second Interim)
     6/30/2023            5/1 – 5/31/2023      $334,060.00          $8,046.50       $267,248.00     $8,046.50
     8/1/2023             6/1 – 6/30/2023      $466,634.00         $17,677.75       $373,307.20    $17,677.75
     8/30/2023            7/1 – 7/31/2023      $327,227.50          $3,080.88       $261,782.00     $3,080.88
     9/15/2023            5/1 – 7/1/2023     $1,127,921.50         $28,805.13     $1,091,850.25    $28,805.13
 (Third Interim)
     9/29/2023            8/1 – 8/31/2023      $396,808.50         $10,377.73       $317,446.80    $10,377.73
    10/31/2023            9/1 – 9/30/2023      $324,074.00          $6,586.88       $259,259.20     $6,586.88
    11/29/2023           10/1 – 10/31/2023     $353,164.50          $5,308.99       $282,531.60     $5,308.99
    12/15/2023           8/1 – 10/31/2023    $1,074,047.00         $22,273.60     $1,047,788.60    $22,273.60
(Fourth Interim)
    12/22/2023           11/1 – 11/30/2023     $345,263.50          $7,846.63      $276,210.80     $7,846.63
     1/31/2024           12/1 – 12/31/2023     $349,562.50          $4,128.50      $279,650.00     $4,128.50
     2/29/2024            1/1 – 1/31/2024      $591,561.50         $11,663.33      $473,249.20    $11,663.33
     3/15/2024              11/1/2023 –      $1,286,387.50         $23,638.46      Pending        Pending
  (Fifth Interim)            1/31/2024
     3/28/2024            2/1 – 2/29/2024      $583,267.00          $7,119.87      $466,613.60      $7,119.87
     4/26/2024            3/1 – 3/31/2024      $667,850.75         $18,572.84      $534,280.60     $18,572.84




  2
        Approved amounts reflect LRC’s agreed reductions with the Fee Examiner.

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                        SUMMARY OF BILLING BY PROFESSIONAL
                   APRIL 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024

                                                  Year of                             Total
                                        Year of              Hourly                                 Total
Timekeeper Name           Position               Law School                           Hours
                                       Admission             Rate3                               Compensation
                                                 Graduation                           Billed
                                       NY 1992,
Adam G. Landis           Partner       MA 1992, May, 1991   $1,275                       22.10      $28,177.50
                                       DE 1996
                                       DE 1993,
Richard S. Cobb          Partner                 May, 1992  $1,275                       31.80      $40,545.00
                                       PA 1994
Matthew B.                             PA 2001,
                         Partner                 May, 2000  $1,025                       43.00      $44,075.00
McGuire                                DE 2003
Kimberly A. Brown        Partner       DE 2008         May, 2008        $925            115.60     $106,930.00

Matthew R. Pierce        Partner       DE 2013         May, 2013        $750            103.70      $77,775.00
Partner Total                                                                           316.20     $297,502.50
Nicolas E. Jenner   Associate          DE 2018         May, 2018        $600             88.10      $52,860.00
Howard W.                              PA 2020,        January,
                    Associate                                           $535             37.40      $20,009.00
Robertson                              DE 2021         2020
George A. Williams Associate           DE 2022         May, 2021        $450            183.50      $82,575.00
Associate Total                                                                         309.00     $155,444.00
Lawyers Total                                                                           625.20     $452,946.50
Melissa Ramirez     Paralegal          N/A             N/A              $350             49.90      $17,465.00
Mark Hitchens       Paralegal          N/A             N/A              $350             28.00       $9,800.00
Joshua Huynh        Paralegal          N/A             N/A              $310              7.50       $2,325.00
Non-Legal Personnel Total                                                                85.40      $29,590.00
GRAND TOTAL                                                                             710.60     $482,536.50

                                       Blended Hourly Rate: $679.06




  3
      LRC’s billing rates have not changed during the Fee Period (defined below).

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                    STATEMENT OF FEES BY PROJECT CATEGORY 4
                 APRIL 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024

                          Project Name                                                Hours          Fee Amount
B112 - Asset Disposition                                                                 26.70         $22,682.50
B120 - Business Operations                                                               18.90         $14,768.50
B122 - Case Administration                                                               27.50         $15,090.00
B124 - Claims Administration & Objections                                               168.40        $102,109.00
B134 - Hearings                                                                           8.70          $5,582.50
B135 - Litigation                                                                       244.50        $169,331.00
B140 - Creditor Inquiries                                                                 0.50            $570.00
B146 - Plan and Disclosure Statement (including Business Plan)                           99.90         $82,112.50
B151 - Schedules/Operating Reports                                                        9.10          $5,269.50
B152 - Tax Issues                                                                         3.20          $1,935.00
B154 - LRC Retention Applications & Disclosures                                           7.80          $5,207.50
B155 - Non-LRC Retention Applications & Disclosures                                       6.40          $3,742.50
B156 - LRC Fee Applications                                                              38.60         $26,133.50
B157 - Non-LRC Fee Applications                                                          47.30         $25,517.50
B160 - Examiner                                                                           3.10          $2,485.00
TOTAL                                                                                   710.60        $482,536.50




4
    The subject matter of certain time entries may be appropriate for more than one project category. In such
    instances, time entries generally have been included in the most appropriate category. Time entries do not appear
    in more than one category.

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                       SUMMARY OF ACTUAL AND NECESSARY EXPENSES 5

                                            Disbursement Summary
             Expense Category                     Service Provider, 6 if Applicable                  Amount
    Inhouse Copying                              N/A                                                    $110.80
    Outside Printing                             Parcels, Inc.                                           $34.05
    Online Research                              Relx Inc. DBA LexisNexis                             $1,231.46
    Delivery Services/Messengers                 Parcels, Inc.                                          $360.00
    Meals                                        Various                                                 $62.60
    Document Retrieval                           PACER                                                  $103.10
    Service Fees                                 Parcels, Inc.                                           $33.66
    Lien Searches                                Delaware Division of Corporations                       $20.00
                                                                            TOTAL                     $1,955.67




5
      Certain service providers may invoice in arrears. Therefore, this Application may include expenses incurred in a
      prior Application Period.
6
      LRC may use one or more service providers. The service providers identified herein are the primary service
      providers for the categories described.

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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

         Debtors.                                                (Jointly Administered)



    SEVENTEENTH MONTHLY FEE STATEMENT OF LANDIS RATH & COBB LLP AS
    BANKRUPTCY CO-COUNSEL TO THE DEBTORS AND DEBTORS-IN-POSSESSION
       FOR COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
          REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
          FROM APRIL 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024

                  Landis Rath & Cobb (“LRC”), bankruptcy co-counsel to FTX Trading Ltd. and its

affiliated debtors and debtors-in-possession in the above-captioned cases (collectively, the

“Debtors”), hereby submits this seventeenth monthly fee statement (this “Monthly Fee

Statement”) for compensation for professional services rendered and expenses incurred for the

period from April 1, 2024 through and including April 30, 2024 (the “Fee Period”). In support

of the Monthly Fee Statement, LRC respectfully states as follows:

                                                    Background

                  1.        On November 11 and November 14, 2022, 2 the Debtors filed with the

United States Bankruptcy Court for the District of Delaware (the “Court”) voluntary petitions for

relief under title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended or modified,

the “Bankruptcy Code”). The Debtors continue to operate their businesses and manage their


1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
     of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
     November 11, 2022 is the petition date for all Debtors, except for Debtor West Realm Shires Inc.



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properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. Joint administration of the Debtors’ cases (the “Chapter 11 Cases”) was authorized by the

Court by entry of an order on November 22, 2022 [D.I. 128]. On December 15, 2022, the Office

of the United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an

Official Committee of Unsecured Creditors (the “Committee”) pursuant to section 1102 of the

Bankruptcy Code [D.I. 231].

                  2.    On January 9, 2023, the Court entered the Order Authorizing the

Employment and Retention of Landis Rath & Cobb LLP as Bankruptcy Co-Counsel, Nunc Pro

Tunc to the Petition Date, Pursuant to Bankruptcy Code Section 327(a), Bankruptcy Rules 2014

and 2016 and Local Rule 2014-1 [D.I. 428] (the “LRC Retention order”) authorizing the

retention and employment of LRC as the Debtors’ bankruptcy co-counsel, nunc pro tunc to

November 11, 2022.

                  3.    On January 9, 2023, the Court entered the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 435] (the

“Interim Compensation Order”).

                  4.    On March 8, 2023, the Court entered the Order (I) Appointing Fee

Examiner and (II) Establishing Procedures for Consideration of Requested Fee Compensation

and Reimbursement of Expenses [D.I. 834] appointing Katherine Stadler (the “Fee Examiner”) to

serve as the fee examiner in these Chapter 11 Cases and establishing certain procedures in

connection therewith.

                                        Relief Requested

                  5.    By this Monthly Fee Statement and in accordance with the Interim

Compensation Order, LRC makes this application for (i) allowance of compensation as an

administrative expense of the Debtors’ estates in the amount of $482,536.50 for reasonable and
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necessary professional services rendered, (ii) payment of compensation in the amount of 80%

thereof (in the amount of $386,029.20) and (iii) payment of $1,955.67 for actual and necessary

expenses incurred.

         a. Compensation Requested

                  6.   The services performed by LRC during the Fee Period included, among

others, (i) preparing and/or assisting in the preparation, finalization and filing of various

pleadings and orders submitted to the Court and served on parties in interest; (ii) regularly

conferring with the Debtors, their other professionals and various parties-in-interest regarding

issues related to the Chapter 11 Cases and the various pleadings filed herein; (iii) preparing for

and participating in the hearings held in the Chapter 11 Cases; and (iv) researching and advising

the Debtors and their other professionals with respect to numerous issues in connection with the

Chapter 11 Cases. Attached hereto as Exhibit A is a detailed itemization, by project category, of

all services performed by LRC with respect to the Chapter 11 Cases during the Fee Period. This

detailed itemization complies with Local Rule 2016-2 in that each time entry contains a separate

time allotment, a description of the type of activity and the subject matter of the activity, all time

is billed in increments of one-tenth (1/10) of an hour, time entries are presented chronologically

in categories, and all meetings or hearings are individually identified.

                  7.   The timekeepers who rendered services related to each category are

identified in Exhibit A, along with the number of hours for each individual and the total

compensation sought by each category. All services for which LRC requests compensation were

performed for, or on behalf of, the Debtors.




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         b. Expense Reimbursement

                  8.     LRC incurred out-of-pocket expenses during the Fee Period in the amount

of $1,955.67. Attached hereto as Exhibit B is a description of the expenses actually incurred by

LRC in the performance of services rendered as bankruptcy co-counsel to the Debtors. The

expenses are broken down into categories of charges, which may include, among other things,

the following charges: photocopying, printing, outgoing facsimiles, document retrieval, postage,

third-party conference calls, messenger service, transcripts, computerized legal research, filing

fees, working meals, secretarial overtime, and other expenses.

                  9.     In order to more efficiently handle the voluminous copying of pleadings

served and filed in these Chapter 11 Cases, LRC on occasion retained third-party duplication

service providers. LRC seeks reimbursement only for the actual expenses charged by such third-

party service providers.

                  10.    In accordance with section 330 of the Bankruptcy Code, LRC seeks

reimbursement only for the actual cost of such expenses to LRC. LRC submits that all such

expenses incurred were customary, necessary and related to the Chapter 11 Cases and, by this

Monthly Fee Statement, requests reimbursement of the same. 3

                                           Valuation of Services

                  11.    Professionals of LRC have expended a total of 710.60 hours in connection

with this matter during the Fee Period.

                  12.    The amount of time spent by each of the professionals providing services

to the Debtors for the Fee Period is set forth in Exhibit A. The rates are LRC’s regular hourly



3
    LRC reserves all rights with respect to any expense cap sought to be imposed or otherwise enforced by the Fee
    Examiner or the U.S. Trustee that is not consistent with or deviates from the Local Rules or applicable orders
    entered by the Court in these Chapter 11 Cases.

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rates of compensation for work of this nature. The reasonable value of the services rendered by

LRC for the Fee Period as bankruptcy co-counsel for the Debtors in the Chapter 11 Cases is

$482,536.50.

                  13.   LRC submits that the time entries included in Exhibit A attached hereto

and the expense breakdown set forth in Exhibit B attached hereto are in compliance with the

requirements of Local Rule 2016-2.

                  14.   In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, the amount requested is fair and reasonable given the complexities of these

Chapter 11 Cases, the time expended, the nature and extent of the services rendered, the value of

such services, and the costs of comparable services other than in a case under this title.

                             Certificate of Compliance and Waiver

                  15.   The undersigned representative of LRC certifies that she has reviewed the

requirements of Local Rules 2016-2 and that the Monthly Fee Statement substantially complies

with such rule. To the extent that the Monthly Fee Statement does not comply in all respects

with the requirements of Local Rule 2016-2, LRC believes that such deviations are not material

and respectfully requests that any such requirements be waived.

                                   Notice and No Prior Request

                  16.   Notice of this Monthly Fee Statement has been given to the following

parties or, in lieu of, to their counsel, if known: (a) the U.S. Trustee; (b) the Committee; (c) the

Fee Examiner; and (d) all parties required to be given notice in the Interim Compensation Order.

LRC submits that no other or further notice is necessary.

                  17.   No prior request for the relief sought in this Monthly Fee Statement has

been made to this or any other Court.



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                  WHEREFORE, LRC respectfully requests that the Bankruptcy Court (i) approve

the Monthly Fee Statement and (ii) grant such further relief as is just and proper.

Dated: May 31, 2024                         LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                            /s/ Kimberly A. Brown
                                            Adam G. Landis (No. 3407)
                                            Kimberly A. Brown (No. 5138)
                                            Matthew R. Pierce (No. 5946)
                                            919 Market Street, Suite 1800
                                            Wilmington, Delaware 19801
                                            Telephone: (302) 467-4400
                                            Facsimile: (302) 467-4450
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                                                    pierce@lrclaw.com

                                            Counsel for the Debtors
                                            and Debtors-in-Possession




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